 Case 3:12-cv-00808-SCW Document 29 Filed 05/10/13 Page 1 of 7 Page ID #62




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

MICHAEL WILLIAMS, BRIAN THOMAS,                  )
SEDRICK PHILLIPS, AND MIKAL DAVIS,               )
                                                 )
        Plaintiffs,                              )
                                                 )
        v.                                       )      No. 12-808-MJR
                                                 )
SALVADOR GODINEZ, TY J. BATES,                   )
RANDY DAVIS, NORMAN SUITS,                       )
OFFICER BARNHART, UNKNOWN AND                    )
UNNAMED OFFICERS,                                )
                                                 )
        Defendants,                              )

                                       ANSWER

        Now come defendants, Randy Davis, Norman Suits and James Barnard, by and

through their attorney, Lisa Madigan, Attorney General for the State of Illinois, and hereby

answer plaintiff’s complaint as follows:

        1.      Defendants admit the allegations contained in this paragraph.

        2.      Defendants deny that venue was appropriate in the Northern District of

Illinois.

        3.      Defendants lack sufficient knowledge to admit or deny the allegations

contained in this paragraph.

        4.      Defendants lack sufficient knowledge to admit or deny the allegations

contained in this paragraph.

        5.      Defendants lack sufficient knowledge to admit or deny the allegations

contained in this paragraph.

        6.      Defendants lack sufficient knowledge to admit or deny the allegations


                                             1
 Case 3:12-cv-00808-SCW Document 29 Filed 05/10/13 Page 2 of 7 Page ID #63




contained in this paragraph.

       7.    Defendants lack sufficient knowledge to admit or deny the allegations

contained in this paragraph because plaintiffs have not identified themselves by inmate

number.

       8.    Defendants admit the allegations contained in this paragraph.

       9.    Defendants admit that Vienna Correctional Center is the parent institution for

IIP.

       10.   Defendants admit the allegations contained in this paragraph.

       11.   Defendants admit that defendant Godinez has been the Director of IDOC

since May 2011. The defendants admit the remaining allegations contained in this

paragraph.

       12.   The defendants deny that defendant Bates was the Deputy Director for the

Southern District prior to December 2011. The defendants admit the remaining allegations

contained in this paragraph.

       13.   Defendants deny that defendant Davis was the Warden of Vienna at all times

mentioned in the complaint. Defendants admit the remaining allegations contained in this

paragraph.

       14.   Defendants admit that defendant Suits was the Superintendent of Dixon

Springs between November 2011 and his retirement in October 2012. Defendants admit

the remaining allegations contained in this paragraph.

       15.   Defendants admit this allegation to the extent it refers to defendant Barnard.



       16.   The defendants lack sufficient knowledge to admit or deny the allegations

                                            2
 Case 3:12-cv-00808-SCW Document 29 Filed 05/10/13 Page 3 of 7 Page ID #64




contained in this paragraph.

      17.    The defendants are unable to admit or deny the allegations contained in this

paragraph because the plaintiffs have not provided sufficient identifying information to

allow a review of departmental records. Counsel for the defendants has reviewed the

records and it appears plaintiffs Phillips and Davis were at Dixon Springs from November

1, 2011 until they were released. Counsel was unable to make any determination

regarding plaintiffs Williams and Thomas.

      18.    Defendants deny the allegations contained in this paragraph.

      19.    Defendants admit that inmates are in a disciplined environment where they

are not allowed to waste time. Defendants admit inmates sleep in their underwear.

Defendants admit that inmates have been temporarily housed in the gym and that

condensation sometimes forms and drips in that space. Defendants admit that groups of

inmates can be disciplined for the actions of other inmates.      Defendants deny the

remaining allegations contained in this paragraph.

      20.    See response to paragraph 19.

      21.    See response to paragraph 19.

      22.    Defendants deny the allegations contained in this paragraph.

      23.    Defendants deny the allegations contained in this paragraph.

      24.    Defendants admit they did not inadequately train and supervise their

employees, but deny it was obvious that more or different training was needed.

      25.    Defendants deny the allegations contained in this paragraph.

      26.    Defendants deny the allegations contained in this paragraph.

      27.    The defendants deny the allegations contained in this paragraph.

                                            3
 Case 3:12-cv-00808-SCW Document 29 Filed 05/10/13 Page 4 of 7 Page ID #65




      28.    Defendants deny that plaintiffs have moved for class certification.

      29.    Defendants lack sufficient knowledge to admit or deny the allegations

contained in this paragraph.

      30.    Defendants deny the allegations contained in this paragraph.

      31.    Defendants deny the allegations contained in this paragraph.

      32.    Defendants deny the allegations contained in this paragraph.

      33.    Defendants deny the allegations contained in this paragraph.

      34.    Defendants deny the allegations contained in this paragraph.

      35.    Defendants lack sufficient knowledge to admit or deny the allegations

contained in this paragraph.

      36.    Defendants lack sufficient knowledge to admit or deny the allegations

contained in this paragraph.

      37.    Defendants deny the allegations contained in this paragraph.

      38.    Defendants deny the allegations contained in this paragraph.

      39.    Defendants deny the allegations contained in this paragraph.

      40.    Defendants deny the allegations contained in this paragraph.

      41.    Defendants incorporate their responses to paragraphs 1 through 38.

      42.    Defendants deny the allegations contained in this paragraph.

      43.    Defendants deny the allegations contained in this paragraph.

      44.    Defendants deny the allegations contained in this paragraph.

      45.    Defendants deny the allegations contained in this paragraph.

      46.    Defendants incorporate their responses to paragraphs 1 through 38.

      47.    Defendants deny the allegations contained in this paragraph.

                                           4
 Case 3:12-cv-00808-SCW Document 29 Filed 05/10/13 Page 5 of 7 Page ID #66




      48.    Defendants deny the allegations contained in this paragraph.

      49.    Defendants deny the allegations contained in this paragraph.

      50.    Defendants deny the allegations contained in this paragraph.

      51.    Defendants incorporate their responses to paragraphs 1 through 38.

      52.    Defendants deny the allegations contained in this paragraph.

      53.    Defendants deny the allegations contained in this paragraph.

      54.    Defendants deny the allegations contained in this paragraph.

      55.    Defendants deny the allegations contained in this paragraph.

                                   RELIEF SOUGHT

      1.     Defendants deny that a class should be certified in this matter.

      2.     Defendants deny plaintiffs are entitled to damages.

      3.     Defendants deny plaintiffs are entitled to damages.

      4.     Defendants deny plaintiffs are entitled to an injunction.

      5.     Defendants deny plaintiffs are entitled to attorneys fees.

      6.     Defendants deny plaintiffs are entitled to costs.

      7.     Defendants deny plaintiffs are entitled to any relief in this matter.

                              AFFIRMATIVE DEFENSES

      1..    At all times relevant herein, defendants acted in good faith in the

performance of their official duties and without violating plaintiff’s clearly established

statutory or constitutional rights of which a reasonable person would have known.

Defendants are therefore protected from suit by the doctrine of qualified immunity.

      2.     To the extent plaintiffs have failed to exhaust their administrative remedies



                                            5
 Case 3:12-cv-00808-SCW Document 29 Filed 05/10/13 Page 6 of 7 Page ID #67




as is required prior to filing suit under 42 U.S.C. 1983 by the Prison Litigation Reform Act

(42 U.S.C. 1997) their claims are barred.

       3.     Plaintiff’s claim for injunctive relief is barred by sovereign immunity and the

Eleventh Amendment.

                                          Respectfully submitted,

                                          RANDY DAVIS, NORMAN SUITS, and JAMES
                                          BARNARD,

                                                 Defendants,

                                          LISA MADIGAN, Attorney General,
                                          State of Illinois

Christopher L. Higgerson, #6256085               Attorney for Defendants,
Assistant Attorney General
500 South Second Street                   By:    s/Christopher L. Higgerson
Springfield, IL 62706                             CHRISTOPHER L. HIGGERSON
(217) 782-5819                                    Assistant Attorney General

Of Counsel.




                                             6
 Case 3:12-cv-00808-SCW Document 29 Filed 05/10/13 Page 7 of 7 Page ID #68




                               CERTIFICATE OF SERVICE

       I hereby certify that on May 10, 2013, I presented the foregoing Defendants’ Answer
and Affirmative Defenses to the Clerk of the Court for filing and uploading to the CM/ECF
system, which will send notification of such filing to the following:
                                  jherrera@fox-law.com

and I hereby certify that on May 10, 2013, I have mailed by United States Postal Service
the document to the following non-registered participant:
                                            None

                                           Respectfully submitted,

                                           s/Christopher L. Higgerson
                                           Christopher L. Higgerson
                                           Assistant Attorney General
                                           Office of the Attorney General
                                           500 South Second Street
                                           Springfield, IL 62706
                                           Telephone: (217) 782-5819
                                           Facsimile: (217) 524-5091
                                           chiggerson@atg.state.il.us




                                              7
